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                                                        October 10, 2023
  BY ECF
  Hon. Jessica S. Allen
  United States Magistrate Judge
  District of New Jersey
  Martin Luther King Building and U.S. Courthouse
  50 Walnut Street, Suite 4015
  Newark, NJ 07101

         Re:     SEC v. Kenneth A. Welsh, 21-civ.-19387 (D.N.J.) (WJM/JSA)

  Dear Judge Allen:
  Plaintiff Securities and Exchange Commission (“SEC”) respectfully submits this status letter
  pursuant to the Court’s October 6, 2023 Order (Dkt. 9).
  The SEC filed its Complaint against Defendant Kenneth A. Welsh (“Welsh”)—the sole
  defendant in this action—on October 28, 2021. (Dkt. 1.) The SEC filed its proof of service
  on December 21, 2021. (Dkt. 5.) The Clerk’s Office entered a docket entry of default as to
  Welsh on February 24, 2022. (Dkt. 6.)
  On the same day the SEC filed its Complaint, the United States Attorney’s Office for the
  District of New Jersey filed a criminal complaint against Welsh, charging Welsh with wire
  fraud in violation of 18 U.S.C. §§ 1342 & 1343 and investment adviser fraud in violation of
  15 U.S.C. §§ 80b-6 & 80b-17 and 18 U.S.C. § 2. United States v. Kenneth A. Welsh, 21-mj.-
  13385 (D.N.J.) (LDW) (“the Criminal Case”). The criminal complaint alleges essentially the
  same conduct as the SEC’s Complaint. Judge Wettre has continued the Criminal Case until
  November 6, 2023, and there is no trial scheduled yet].
  The SEC intends to move for a default judgment as to Welsh after the Criminal Case has
  been resolved. The SEC and Judge Martini will be better able to assess the appropriate
  monetary remedies against Welsh, including disgorgement and a civil penalty, at that time.
  See, e.g., SEC v. Palmisano, 135 F.3d 860, 864 (2d Cir. 1998) (“[W]e modify the judgment to
  provide that to the extent that [defendant] pays or has paid restitution as ordered in the
  criminal judgment, such payments will offset his disgorgement obligation under the present
  judgment.”). The SEC respectfully proposes that it submit a status report on December 11,
  2023, if the SEC has not moved for a default judgment by then.
                                                        Respectfully submitted,

                                                        _________/s/_________________
                                                        Christopher J. Dunnigan
                                                        Senior Trial Counsel
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  cc (by UPS): Kenneth A. Welsh
